                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                Charlottesville Division


  BRENNAN M. GILMORE,

                           Plaintiff,

                v.


  ALEXANDER (“ALEX”) E. JONES;                          No. 3:18-cv-00017-NKM-JCH
  INFOWARS, LLC, a Texas Limited Liability
  Company; FREE SPEECH SYSTEMS, LLC, a
  Texas Limited Liability Company; LEE
  STRANAHAN; LEE ANN MCADOO A/K/A
  LEE ANN FLEISSNER; SCOTT CREIGHTON;
  JAMES (“JIM”) HOFT; DERRICK WILBURN;
  MICHELE HICKFORD; and WORDS-N-IDEAS,
  LLC,

                           Defendants.


  PLAINTIFF’S RESPONSE TO DEFENDANTS’ SUPPLEMENTAL BRIEF IN SUPPORT
    OF MOTION TO RECONSIDER OR TO CERTIFY INTERLOCUTORY APPEAL


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         Plaintiff Brennan Gilmore respectfully files this response to Defendants Wilburn,

  Hickford, Hoft, Creighton, and Words-N-Ideas, LLC’s Supplemental Brief in Support of Motion

  to Reconsider or to Certify Interlocutory Appeal. See Dkt. No. 161.

         As explained in detail in Plaintiff’s May 16, 2019 response to Defendants’ motions,

  Defendants have not met the heavy burden required to obtain reconsideration or interlocutory

  review, see Dkt. No. 145, and the single case they cite in their supplemental brief—In re Trump,

  928 F.3d 360 (4th Cir. 2019)—is not to the contrary. In that case, the Fourth Circuit held that the

  district court abused its discretion by failing to certify a case for interlocutory appeal based

  principally on the “unique circumstances of th[at] case,” id. at 372. First, the issue raised in that

  case—whether certain states had standing to bring a suit alleging that the President had violated

  the Constitution’s Emoluments Clause—“involve[d] a new legal question or [wa]s of special

  consequence.” Id. at 369 (quoting Mohawk Indus., Inc. v. Carpenter, 558 U.S. 100, 110-11 (2009)

  (emphasis omitted)). The Fourth Circuit listed the numerous reasons why in its view “one c[ould]

  hardly question that” the issue in that case met this high bar:

         that no previous court had enforced the Emoluments Clauses; that no decision had
         defined what “emoluments” are; that no prior decision had determined that a party
         can sue directly under the Emoluments Clauses when the constitutional provisions
         provide no rights and specify no remedies; and that no case had held that a State
         has standing to sue the President for alleged injury to its proprietary or sovereign
         interests from a violation of the Emoluments Clause.

  Id. at 369. Here by contrast, numerous Fourth Circuit and Supreme Court decisions have

  elucidated the standard for exercising personal jurisdiction, including in defamation cases like this

  one, and this Court merely applied those precedents to the facts of this case in its well-reasoned

  opinion denying Defendants’ motions to dismiss.

         Second, to show a reasonable difference of opinion, the Fourth Circuit cited a Southern

  District of New York decision in which the court came to a directly contrary conclusion as to


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  whether plaintiffs could sue under the Emoluments Clause. Id. at 370 (citing Citizens for

  Responsibility & Ethics in Washington v. Trump (“CREW”), 276 F. Supp. 3d 174 (S.D.N.Y.

  2017)); see id. at 371 (“[t]he CREW court’s disagreement with the theory of competitor standing

  embraced by the district court is fundamental and obvious”). As noted in Plaintiff’s May 16, 2019

  response, see Dkt. No. 145, at 2, Defendants have not offered a single case with materially similar

  facts in which a court decided a personal jurisdiction question differently than this Court did. 1

         Finally, the Fourth Circuit noted that the plaintiffs in In re Trump “seek[] an injunction

  directly against a sitting President, the Nation’s chief executive officer” and that “to allow such a

  suit to go forward in the district court without a resolution of the controlling issues by a court of

  appeals could result in an unnecessary intrusion into the duties and affairs of a sitting President.”

  In re Trump, 928 F.3d at 368. Obviously, those unique factors do not exist in this case.

         In sum, In re Trump does nothing to change the fact that Defendants have failed to meet

  their heavy burden to show the propriety of reconsideration or interlocutory appeal. Defendants’

  motion for reconsideration or interlocutory appeal should be denied.




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            Once again, Defendants argue that there is a split of authorities as to whether Virginia’s
  long-arm statute is coterminous with the limits of the Due Process Clause. Dkt. No. 161 at 5-7.
  But the cases that Defendants cite stand only for the proposition that Virginia state courts
  sometimes analyze the state’s long-arm statute without referencing the Due Process Clause. The
  Fourth Circuit has repeatedly and consistently held that the long-arm statute is coterminous with
  the limits of the Due Process Clause, and there is no split of authorities on that question.
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  Dated: September 4, 2019                          Respectfully submitted,

                                                     /s/ Andrew Mendrala
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on September 4, 2019, a true and correct copy of the foregoing

  document was served on all parties via the Electronic Case Filing (ECF) system, and separately

  sent via first class mail to Mr. Lee Stranahan, 1440 G Street, NW, Washington, DC 20005.

  Dated: September 4, 2019


                                                            /s/ Andrew Mendrala
                                                            Andrew Mendrala




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